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November 16, 2017

VIA CM/ECF & HAND DELIVERY

The Honorable Judge Richard G. Andrews
U.S. Distriet Court for the Distriet of Delaware
844 North King Street, Room 4209, Unit 18
Wilmington, DE 19801

Re: Saundm M. Floyd, et al. v. Jack Markell, et al.
C.A. NO. 17-431-RGA

Dear Judge Andrews:

Among other issues, the parties are discussing an amendment to the Complaint. We Wish
to proceed efficiently before the Court, and so are jointly requesting a postponement of
Monday’s argument on the pending motions to dismiss

We Would propose to report to the Conrt on or before Deoember 15, 2017 regarding any
issues that Would need to be presented to the Court.

Respeetfully, q
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C. Malcolm Cochran, IV (#2377)
CMC/jam
cc: Thomas C. Crurnplar, Esq. (via email)

Counsel of Reeord (via CM/ECF)

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